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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
----------------------------------------------x
UNITED STATES OF AMERICA,

                       Plaintiff,
                                                     MEMORANDUM AND ORDER
       -against-                                     05 CR 401 (ILG)

JAMES McTIER and
SHARIEF RUSSELL,

                        Defendants.
----------------------------------------------x
GLASSER, United States District Judge:

       The warden of the Metropolitan Correction Center (MCC) was ordered to show

cause why he should (1) not be directed to remove the defendant McTier from

administrative detention in the Special Housing Unit (SHU), and place him in the

general population; (2) not be directed to immediately take steps to restore the list of

people to whom defendant McTier may make phone calls which was apparently deleted

due to a computer malfunction and/or human error, and (3) not grant such further

relief to the defendant McTier that this Court deems just and proper.

       The warden was also ordered to show cause why he should (1) not be directed to

release the defendant Russell from the SHU and place him in the general population; (2)

not be directed to take the necessary steps to restore the visiting rights of the defendant

Russell’s mother, Ms. Elizabeth Jones, who has not been cleared to visit him since he

was transferred to the MCC; and (3) not grant such further relief to the defendant

Russell that this Court deems just and proper.

       In an indictment filed on May 20, 2005, and a superseding indictment filed on

November 2, 2005, McTier and Russell, together with five others, were charged in

twenty eight counts with a variety of crimes. More specifically, McTier and Russell were
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charged with racketeering and racketeering conspiracy. McTier was charged with three

counts of murder in aid of racketeering; three counts of attempted murder in aid of

racketeering; one count of conspiracy to commit murder in aid of racketeering; one

count of assault in aid of racketeering; and four counts of using and carrying a firearm in

relation to a crime of violence. Russell was charged with one count of murder in aid of

racketeering; one count of attempted murder in aid of racketeering; and two counts of

using and carrying a firearm in relation to a crime of violence. Orders of detention were

issued as to both.

       McTier is a sentenced state inmate with a conditional release date of July 18,

2006, who was initially housed federally pursuant to a writ in the Metropolitan

Detention Center (MDC) in Brooklyn. On January 11, 2006, he was transferred from the

MDC to the MCC in Manhattan and admitted to the SHU pending classification and

where he still remains.

       Russell was transferred from the MDC to the MCC on March 3, 2006, and he too

was admitted to the SHU pending classification where he still remains.

       The warden submitted written responses and appeared by members of the MCC

legal staff. His written response regarding McTier emphasized that his “administrative

detention status is not punitive, rather it was implemented pursuant to the Bureau of

Prisons’ regulations and policies for the safety of inmates, staff and others, and to

maintain the security and good order of this facility.” The specific concerns which

counseled the propriety of administrative detention were stated to be “his gang

affiliations, his current offenses involving multiple murders and attempted murders for

which he is eligible for the death penalty if convicted and his extensive history of

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violence consisting of robbery and menacing with a weapon. . . . His institutional

adjustment while housed in general population at MDC Brooklyn was poor involving

two disciplinary infractions within five months of each other” one of which involved a

fight with another inmate.

       The warden’s written response regarding Russell echoed his response regarding

McTier, namely, that his admission to the SHU was not punitive but deemed necessary

for the safety of inmates and staff and for the security and orderly administration of the

facility. The offenses for which he was detained mirrored those of McTier in addition to

attempted murders of law enforcement officers and his extensive criminal history of

violence involving assaults, robberies, attempted rape, attempted murder, resisting

arrest, possession of weapons, possession of contraband while in prison and bribery of

an official.

       We begin with Bell v. Wolfish, 441 U.S. 520 (1979), in which the Court discussed

the factors, legal and practical, that must be considered in addressing conditions of

pretrial detention which are challenged as violating the demands of due process. In

deciding whether the particular condition of pretrial detention is unconstitutional the

Court must determine whether the condition complained of is imposed to punish or

whether it is imposed to serve and is reasonably related to a legitimate governmental

objective. 441 U.S. at 538. That, in essence, is the legal factor. The practical factors are

the government’s legitimate interest to maintain order and security that may justify

conditions and restrictions of pretrial detention that negate any inference that they are

intended as punishment. 441 U.S. at 540. In that vein, the Court cautioned that “Prison

administrators . . . should be accorded wide-ranging deference in the adoption and

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execution of policies and practices that in their judgment are needed to preserve

internal order and discipline and to maintain institutional security. Such considerations

are peculiarly within the province and professional expertise of corrections officials, and

in the absence of substantial evidence in the record to indicate that the officials have

exaggerated their response to these considerations, courts should ordinarily defer to

their expert judgment in such matters.” 441 U.S. at 547-48 (internal citations omitted).

       The Code of Federal Regulations pertaining to inmate discipline and special

housing units reflect the observations in Bell v. Wolfish. They embody the procedures

which must be resorted to in determining whether assignment of these defendants to

the SHU was for the purpose of punishment rather than for some other legitimate

purpose and provide the administrative process for challenging that assignment.

       28 CFR § 541.10 provides that prison authorities can impose discipline on

inmates whose behavior does not comply with Bureau of Prisons rules so that inmates

may live in a safe and orderly environment provided that disciplinary action is not

capricious and retaliatory and applied consistently and impartially.

       28 CFR § 541.22 defines Administrative detention as confinement in a special

housing unit which serves to remove the inmate from the general population. Section

541.22(a) provides that the Warden may place a new inmate in administrative detention

pending classification or when the inmate’s continued presence in the general

population poses a serious threat to life, property, self, staff, other inmates or to the

security or orderly running of the institution.

       § 541.22(b) requires the Warden to prepare an administrative detention order

detailing the reasons for placing an inmate in administrative detention with a copy given

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to the inmate within 24 hours of his placement.

      § 541.22(c) requires the Segregation Review Official (SRO) to conduct a record

review within 3 work days of the inmate’s placement and hold a hearing and formally

review the status of any inmate who spends 7 continuous days in such detention and

thereafter shall review the case on the record (in the inmate’s absence) each week and

shall hold a hearing and review the case formally at least every 30 days. The inmate

appears before the SRO at the hearing unless he waives his right to appear in a signed

writing.

      If the administrative detention continues beyond 30 days, a psychiatric or

psychological assessment including a personal interview shall be conducted by the staff.

The assessment shall be submitted to the SRO in a written report, shall address his

adjustment to his surroundings and the threat he poses to self, staff and other inmates.

Similar assessments shall be conducted by staff within one month intervals.

      Administrative detention is to be used only for short periods of time except where

he needs long term protection (see § 541.23), or where there are exceptional

circumstances, ordinarily tied to security or complex investigative concerns. The SRO

shall release an inmate from administrative detention when reasons for it cease to exist.

      I.     Has the BOP complied with the Code of Federal Regulations

      Submitted by the Bureau of Prisons in response to the Order to Show Cause was a

sheaf of documents pertaining to James McTier which are hereafter described and

summarized. Upon his arrival at the MCC on January 11, 2006, an Administrative

Detention Order was issued by a BOP Lieutenant to whom authority may be delegated

by the Warden in accordance with CFR § 541.22(a). The stated reason was the

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Lieutenant’s decision “based on all the circumstances that [his] continued presence in

the general population poses a serious threat to life, property, self, staff, other inmates,

or to the security or orderly running of the institution because you are being placed in

administrative detention pending intel review.” The Order states that the defendant

received a copy of it within 24 hours of his placement as witnessed by a staff witness and

in accordance with CFR § 541.22(b).

       Also submitted in response to the Order to Show Cause were Special Housing

Review forms which reflect that a record review was conducted on January 14, 2006,

within 3 days of McTier’s placement in administrative detention, each week and every

30 days thereafter as required by CFR § 541.22(c).

       Although the Regulation speaks of a “hearing,” in response to the Order to Show

Cause, Les Owen, the Supervising Attorney at the MCC stated that “There is no outline

procedure, there are no due process requirements” as there would be for a discipline

proceeding. “When you are dealing with the SHU, with folks who have dangerous pasts,

a history of violence, very serious charges, these folks are not the kind of folks you want

to take out of a cell to sit down in front of you at a desk to have a formal discussion. The

discussion generally takes place through the glass of the cell door. Lieutenant does

rounds every single day up there. Sort of takes all these meetings into account. He

meets with the men. It is every day. The department heads meet up there every week.

They review these cases with these men when the Lieutenant will look at them and talk

to them through the window. How are you doing, do you have any problems, asking a

series of questions as to how he is adjusting to the SHU. The Lieutenant then takes the

information and that is considered the hearing.”          Tr. of May 25, 2006, pp. 16-17.

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       In each of the Special Housing Review forms, the Reason for Placement is stated

to be on one dated 3/20/06 “Intel Review/Security Concerns” and the others dated

4/19/06 and 5/19/06 “Murder/RICO.” Each form also reflects that the “Inmate

appeared for a special housing review;” that he was seen daily by the medical staff and

by a responsible officer designated by the Warden; that he received his weekly exercise;

that there is a written psychiatric or psychological assessment of the inmate who has

spent 30 days in a SHU status and that there is an additional assessment every one

month interval thereafter; that he received a written copy of the staff’s decision and the

basis for the finding at each 30 day review and that there was no change in his current

status. Each form was signed by a Segregation Review Official.

       Sharief Russell was transferred to the MCC from the MDC on March 3, 2006.

The Special Housing Review forms submitted as to him reflect essentially the same

information as those indicated above for McTier. The reason stated for his

administrative detention is Security Concerns.

       Counsel for McTier and Russell contend, essentially, that others who were

charged with crimes of violence, including murder, have been permitted to be housed

with the general population and therefore, placing these defendants in administrative

detention can only be for reasons that are punitive and not for the purpose of achieving

some legitimate governmental objective. They rely primarily upon United States v.

Gotti, 755 F. Supp. 1159 (E.D.N.Y. 1991); United States v. Basciano, 369 F. Supp.2d 344

(E.D.N.Y. 2005) and Elmaghraby v. Ashcroft, 2005 WL 2375202 (E.D.N.Y. 2005).

       These cases are easily distinguished. In Elmaghraby the plaintiffs brought suit

against multiple defendants seeking damages pursuant to Bivens v. Six Unknown

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Named Agents of Federal Bureau of Narcotics, 403 U.S. 388 (1971), alleging violations

of their Constitutional rights under the I, IV, V, VI and VIII Amendments and also

asserting claims under the Alien Tort Statute, the Religious Freedom Restoration Act

and the Federal Tort Claims Act. The defendants moved to dismiss those claims

pursuant to Fed. R. Civ. P. 12(b)(6). The court assumed as it must, that all the

allegations in the complaint were true and his comprehensive and scholarly opinion was

predicated upon that assumption of facts which are starkly different from those before

me. In Gotti, this Court found that the only reason for the administrative detention,

without more, was the nature of the charges against those defendants and the “jailer’s

subjective belief of what was in the detainee’s mind . . . .” 755 F. Supp. at 1164. As has

been indicated above, here there is more. It should also be noted that in Gotti, no claim

was made that administrative remedies were required to be exhausted as a pre-

condition to the Court’s jurisdiction. That claim is made here. A plain reading of

Basciano would lead to the conclusion that the administrative detention of that

defendant was determined upon the prosecutor’s insistence that the detention was

necessary to prevent Basciano from continuing to direct the affairs of the Bonnano

organized crime family which his confinement in the general prison population would

enable him to do and for no other legitimate governmental objective needed to preserve

and maintain institutional security.

       The oral presentation of both sides on the return day of the Order to Show Cause

and their written submissions thereafter are, not surprisingly, irreconcilable. In a letter

dated June 2, 2006, counsel for McTier responds to a question posed by the Court

“whether a pretrial detainee can be confined in administrative detention simply on the

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nature of his alleged crime and on his alleged membership in a gang,” with the “short

answer is no, both substantively and procedurally.” He asserts that the BOP has

presented no particularized evidence at all that defendant’s presence in the general

population would pose a serious threat to life, property, self, staff, other inmates or to

the security or orderly running of the institution then acknowledges that “this sort of

specific reason for keeping an inmate in solitary confinement is what the regulation

contemplates. BOP regulations, codified at 28 CFR § 514.22 require individualized

determinations concerning the appropriateness of continued segregation.” Citing

Elmaghraby at *18. (emphasis mine). Given the recognition that a determination

concerning the appropriateness of administrative detention requires an individualized

determination, the question then is what “particularized evidence” is necessary to

support that determination beyond the significance which the crimes with which the

inmate is charged and his criminal and behavioral history has to the prison

administrator responsible for preserving internal order, discipline and maintaining

institutional security. The determination based upon those factors that administrative

detention is appropriate is “accorded wide-ranging deference.” Bell v. Wolfish, 441 U.S.

at 547.

          Informative in this regard is the following observation made by the Court in

Hewitt v. Helms, 459 U.S. 460, 474 (1983), rev’d. on other grounds by Sandin v. Conner,

515 U.S. 472 (1995):

                In assessing a threat to institutional security, prison
                administrators necessarily draw on more than the specific
                facts surrounding a particular incident; instead they must
                consider the character of the inmates confined in the
                institution, recent and longstanding relations between

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               prisoners and guards, prisoners inter se, and the like. In the
               volatile atmosphere of a prison, an inmate easily may
               constitute an unacceptable threat to the safety of other
               prisoners and guards even if he himself has committed no
               misconduct; rumor, reputation, and even more
               imponderable factors may suffice to spark potentially
               disastrous incidents. The judgment of prison officials in this
               context, . . . turns largely on ‘purely subjective evaluations
               and predictions of future behavior,’ indeed, the
               administrators must predict not just one inmate’s future
               actions, . . . but those of an entire institution. (internal
               citations omitted).

        Bell v. Wolfish addresses the defendant’s substantive due process concerns. The

 Court there decided that the Due Process Clause gives the pretrial detainee the right to

 be free from punishment prior to being found guilty of the crimes with which he is

 charged in accordance with due process of law, but that “does not mean that he may not

 be subject to significant restrictions. The maintenance of an institution’s security and

 discipline are ‘essential goals that may require limitation or retraction of the retained

 constitutional rights of both convicted prisoners and pretrial detainees.” Elmaghraby at

 *15, quoting Bell v. Wolfish, supra, at 546.

        As to his concerns regarding procedural due process, research has not uncovered

 a definitive determination of how detailed the Warden’s reasons for placing an inmate in

 administrative detention must be within the first 24 hours of placing him there as

 required by § 541.22(b). In this case, the reason was “Intel Review.” Nor has research

 uncovered a definitive determination of what satisfies the “hearing” requirement of

 § 541.22(c). Should the word be given its dictionary meaning, cognizant of the caution

 to be used in “making a fortress out of the dictionary,” Cabell v. Markham, 148 F.2d 737,

 739 (2d Cir. 1945) (L. Hand), or should the word be understood in the context and in the



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 reality of the circumstances in which the “hearing” is to be held as testified to by the

 attorney for the MCC quoted above?

        Lending guidance here perhaps is this observation made by the Court in Wolff v.

 McDonnell, 418 U.S. 539, 560 (1974): “In determining what is ‘due process’ in the

 prison context, we are reminded that one cannot automatically apply procedural rules

 designed for free citizens in an open society . . . to the very different situation presented

 by a disciplinary proceeding in a state prison.”

        The ultimate answer to those questions would resolve the issues raised by the

 defendants regarding the sufficiency of the Special Housing Reviews’ compliance with

 the requirements of the Regulations. Those questions need not be answered here given

 the determination that the defendants must exhaust their administrative remedies

 which the BOP has provided and by which the defendants may challenge the terms of

 their confinement. Johnpoll v. Thornburgh, 898 F.2d 849, 850 (2d Cir. 1990), cited in

 United States v. Zampardi, 1996 WL 1088905 (E.D.N.Y. 1996). In that case, the Corut

 wrote at *1 that “ordinarily recourse must be made to these administrative remedies

 prior to filing suit in federal court. This ‘exhaustion requirement’ promotes: (i)

 deference to Congress’ decision to grant initial dispute resolution authority to the

 administrative tribunal; (ii) respect for administrative autonomy by minimizing judicial

 intervention; and (iii) judicial economy. Terrell v. Brewer, 935 F.2d 1015, 1019 (9th Cir.

 1991); Lyons v. U.S. Marshals, 840 F.2d 202, 204-05 (3rd Cir. 1988).” See also Feastor v.

 United States Bureau of Prisons, 37 Fed. Appx. 15 (2d Cir. 2002). The Court noted

 exceptions to the exhaustion requirement when the administrative procedures are either

 unavailable or inadequate, Zambardi, supra, at *2. The administrative remedy provided

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 by the BOP is found in 28 CFR § § 542.10-542.19 and has already been invoked by

 McTier. There is no indication in the submissions to the Court that Russell has also

 already invoked administrative remedies.

        In a letter to the Court dated July 10, 2006 from McTier’s counsel, reference was

 made to the MCC Warden’s “Response to Request for Administrative Remedy” made by

 McTier which counsel requests this Court to reject as being “The Bureau’s frivolous

 arguments for continuing administrative detention.” The Warden’s Response, which

 was not provided with that letter, was subsequently obtained by the Court and, in

 relevant part, states as follows:

               You are being held in SHU in Administrative Detention, a
               non-punitive status for which restricted conditions of
               confinement are required to ensure the safety of inmates or
               others, the protection of property, or the security and orderly
               running of the institution. Specifically, there are concerns
               with your gang affiliations (namely the Black Gangster
               Disciples); your current offenses involving at least three
               murders and two attempted murders, your history of
               violence consisting of criminal convictions for robbery and
               menacing with a weapon for which you are currently serving
               a New York sentence until at least July; and your poor
               institutional adjustment while housed in general population
               at MDC Brooklyn, namely two disciplinary infractions within
               five months of each other, including one for fighting with
               another inmate. Your housing status continues to be
               reviewed.

        The characterization of the Warden’s Response as “frivolous” and as a “stubborn

 adherence to a facially erroneous rationale, its repeated failures to afford Mr. McTier

 due process” and the insistence upon Gotti as being totally congruent with this case

 prompted a letter response from the BOP dated July 17, 2006. I have already indicated

 that Gotti is distinguishable on its facts from this one and is not authority for compelling



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 this case being decided similarly.

        Responding to counsel’s reference to the fighting with another inmate as being a

 “weaponless altercation,” the BOP letter asserts that “In a prison setting, particularly

 when a gang member is involved, any and every fight has the potential to cause a serious

 and violent disruption, fellow gang members, gang associates and would-be gang

 members invariably come to the aid of their own, so that a “fistfight” can quickly

 escalate into a life-threatening situation for staff and other inmates.” In its letter, too,

 the BOP denies the averment by defense counsel that it has made a decision to keep

 McTier in SHU permanently, and then reviews the ongoing weekly assessments

 regarding whether an inmate should be continued in SHU or released to the general

 population. And as though confirming the validity of subjective evaluations and

 predictions of future behavior by experienced professional prison administrators, the

 letter concludes with describing McTier’s behavior during the preceding two months as

 including refusal to obey orders, inciting “other SHU inmates by loudly declaring a

 ‘revolution’” to which other inmates responded by banging on their cell doors

 proclaiming a revolution. For those and other offensive behavior which is described,

 McTier is awaiting a disciplinary hearing.

        Given the reasons for denying the relief requested by the defendants, the Court

 will not belabor this opinion by discussing the effect of the Prison Litigation Reform Act,

 42 U.S.C. § 1997e(a) that directs: “No action shall be brought with respect to prison

 conditions under . . . any . . . Federal law, by a prisoner . . . until such administrative

 remedies as are available are exhausted.” See Porter v. Nussle, 534 U.S. 516 (2002) and

 Booth v. Churner, 532 U.S. 731 (2001).

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          The foregoing determination responds to the relief sought by Sharief Russell as

 well as to the relief sought by James McTier through the Order to Show Cause directed

 to the Warden of the MCC.

          SO ORDERED.

 Dated:         Brooklyn, New York
                July 20, 2006



                                                            S/
                                                   I. Leo Glasser




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